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             EXHIBIT A
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                                                          WILLIAMS COUNTY, ND
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                                                                            OIL AND GAS LEASE
                 Mod-Produccn &S-PAID UP
                 Rev. 5-00 No. 2 (modified)


                 AGREEMENT, Made and entered into this 23'' day of October,
                                                                              2009, by and between Ronald J. Penman, a married man
                 dealing in his sole and separate property, whose address is
                                                                             24751 Rd S, Dolores, CO 81323, hereinafter called Lessor
                 (whether one or more) and TRZ Energy LLC whose address is
                                                                             1050 17" Street, Suite 975, Denver, CO 80265 hereinafter
                 called Lessee:

                               WITNESSETH, That the Lessor, for and in considerati
                the receipt of which is hereby acknowledged, and the covenants on of Ten Dollars and more ($10.00+) cash in hand paid,
                leased and let, and by these presents does grant, demise, lease and  and agreements hereinafter contained, has granted, demised,
                described, with the exclusive right for the purpose of mining, exploringlet exclusively unto the said Lessee, the land hereinafter
                producing therefrom oil and all gas, of whatsoever nature or kind,        by geophysical and other methods, and operating for and
                erection of structures thereon to produce, save and take care of saidwith rights of way and easements for laying pipe lines, and
                County of Williams, State of North Dakota, described as follows,       products, all that certain tract of land being situated in the
                                                                                    to-wit:
                Township 153 North, Range 98 West, 5'" PM
                Section 5: N/2SW/4
                Section 6: N/2SE/4
                Section 7: S/2NE/4, SE/4
                Section 9: W/2, NE/4, NE/4SE/4, S/2SE/4, NW/4SE/4
                Section 10: SW/4SW/4
                Section 17: NE/4, SE/4NW/4

                See Exhibit "A" Attached Hereto and Made A Part Hereof.

                  containing I 120,00 acres, more or less.
                                 I. It is agreed that this lease shall remain i_n force for a term of Four
                 thereafter as oil or gas of whatsoever nature or kind is/reduced                                 ~ years from October 23, 2009 and as long
                 drilling operations are continued as hereinafter provide . If, at thefrom said leased premises or on acreage pooled therewith, or
                 being produced on the leased premises or on acreage pooled therewith        expiration of the primary term of this lease, oil or gas is not
                 operations thereon, then this lease shall continue in force                          but Lessee i$ then engaged in drilling or re-working
                 premises or on acreage pooled therewith, and operationssoshall      long as operations are being continuously prosecuted on the leased
                                                                                          be
                 ninety (90) days shall elapse between the comr.letion or abandonme           considered     to be continuously prosecuted if not more than
                 of a subsequent well. If after discovery of 011 or gas on said land nt of one well and the beginning of operations for the drilling
                 cease from any cause aft.er the primary term, this lease shall not tenn    or  on   acreage   pooled therewith, the production thereof should
                 operations within ninety (90) days from date ofcessation of production        inate if Lessee commences additional drilling or re-working
                 be discovered and produced as a result of such operations or after                or from   date  of completion of dry hole. If oil or gas shall
                 shall continue in force so long as oil or gas is produced fromatthe             the expiration of the primary tenn of this lease, this lease
                                                                                        leased premises or on acreage pooled therewith.
                                2. This is a PAJD-UP LEASE. In consideration of the cash down
                obligated, except as othen.vise provided herein, to commence                                  payment, Lessor agrees that Lessee shall not be
                any time or times during or after the primary term surrender this     or continue any operations during the primary term. Lessee may             at
                stratum by delivering to Lessor or by filing for record a release orlease as to all or any portion of said land and as to any strata or
                to the acreage surrendered.                                               releases, and be relieved of all obligation thereafter accruing as
                                3. In consideration of the premises the said Lessee covenants and agrees:
                                       1st. To deliver to the credit of Lessor, free of cost, in the pipeline
                                       land, the equal Three-Sixteenths (3116'") part of all oil produced and       to which Less-ee m91y connec.t wells on said
                                       2nd. To pay Lessor Three-Sixteenths (3/16'h) of the gross proceeds               saved from the leased premises.
                                       from each well where gas only is found, while the same is teing each year, payable quarterly, for the gas
                                                                                                                      used
                                       manufacture of gasoline a royalty of Three-Sixteenths (3/16' ) payable off the premises, and if used in the
                                       for gas.                                                                            monthly at the prevailing market rate
                                       3rd. To pay Lessor for gas produced from any oil wt:ll and used
                                       gasoline, or any other product a royalty of Three-Sixteenths                  off the premises or in the manufacture of
                                       well, payable monthly at the prevailing market rate.                      (3/16'") of the proceeds, at the mouth of the
                               4. If, at the expiration of the primary term or at any time or times thereafter
                either capable of producing oil or gas then this lease shall not                                        there is any well on the leased premises
                shall pay or tender to Lessor or Lessor's successor or assignsterminate so long as such well is sh ut in. For each such well, Lessee .
                payment or tender to be made on or before the anniversary dateOne           Dollar per year per net mineral acre retained hereunder, such
                                                                                       of this lease next ensuing after the expiration of90 days from the
                date such "\Veil is shut in and thereafter on or before the anniversary
                Lessee's failure to pay or tender, or properly pay or tender, any such date of this lease during the period such well is shut in.
                not operate to terminate the lease.                                          sum shall render Lessee liable for the amount due but it shall
                               5. If said Lessor owns a less interest in the above described land
                                                                                                             than the entire and undivided fee simple estate
               ~~r~~ni.,~~:/~in;~r:~:i~~t~~tutii;t:res!::'J·~~,fi':,'id~a~:r) herein
                                                                                             provided for shall be paid the said Lessor only in proportion
                               6. Lessee shall have the right to use, free of cost, gas, oil and water
               thereon, except water from the wells of Lessor.                                                  produced on said land for Lessee's operati on
                               7. When requested by Lessor, Lessee shall bury Lessee's pipe line
                               8. No well shall be drilled nearer than 200 feet to the house or barn       below    plow depth.
               of Lessor.                                                                                      now on said premises without written consent
                                                .
                               9. Lessee shall pay for damages caused by Lessee's operations to growing
                             10. Lessee shall have the right at any time to remove all machinery                      crops on said land.
               the right to draw and remove casing.                                                          and fixtures placed on said premises, including
                             11 . The rights of Lessor and Lessee hereunder may be assigned
               Lessor's interest (by assignment or otherwise) shall be binding on                            in whole or part. No change in ownership of
               of certified copies of all recorded instruments or documents and           Lessee until Lessee has been furnished with notice, consisting
               record title from Lessor, and then only with respect                       other    infonnation    necessary to estahlish a complete chain of
               constructive, shall be binding on Lessee. No present ortofuturepayments thereafter made. No other kind of notice, wh ether actual
                                                                                    division                                                                    or
               said land shall operate to eniarie the obligattons or diminish the ri!lhts      of   Lessor's  ownership    as to different portions ·or parcels of
               without regard to any such division. If all or any part of this lease              of Lessee, and all Lessee's operations may be conducted
              omission of any other leasehold owner.                                       1s assigned, no leasehold owner shall be liable for any act or
                             12. Lessee, at its option, is hereby given the right and power at
              either befofe or after production, as to all or any part of the land                     any. time and from ti me to time as a recurring right,
              hereunder, to pool or unitize the leasehold estate and the                 described herein and as to any one or more of the formations
              the immediate vicinity for the production of oil and gas, ormineral        estate covered by this lease with other land, lease or leases in
                                                                                separately
              necessary or advisable to do so, and irrespective of whether authorityfor the production of either, when in Lessee's judgment it is
              or leases. Likewise, units previously formed to inclu~e formations similar to this exists with respect to such other land, lease
              non-producing formations. The forming or reforming of any unit shall          not producing oil or gas, may be reformed to exclude such
              a declaration of such unitization or reformation, which declaration              be accomplished by Lessee executing and filing of record
              a well has theretofore been completed or upon which operations             shall   describe the unit. Any unit may include land upon which
                                                                                           for
              drilling or reworking operations or a well shut in for want of a market drill ing have theretofore been commenced. Production,
              shall be treated as ifit were production, drilling or reworking operations     anywhere     on a unit which includes all or a part of this lease
              lieu of the royalties elsewhere herein specified, including shutain gas or a well shut in for want ofa market under this lease. In
                                                                                              royalties, Lessor shall receive on production from the unit
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                                           WILLIAMS COUNTY, ND


        so pooled royalties only on the portion of such production allocated to this lease; such allocation shall be that proportion of the
        unit production that the total number of surface acres covered by this lease and included in the unit bears to the total number of
        surface acres in such unit. In addition to the foregoing, Lessee shall have the right to unitize, pool or combine all or any part of
        the above described lands as to one or more of the fonnations thereunder with other lands in the same general area by entering
        into a cooperative or unit plan of development or operation approved by any governmental authority and, from time to time, with
        like approval, to modify, change or tennmate any such plan or agreement, and in such event, the term s, conditions and provisions
        of this lease shall be deemed modified to conform to the tenns, conditions, and provisions of such approved cooperati ve or unit
        plan of development or operation and, particularly, all drilling and development requirements of this lease, express or implied,
        shall be satisfied by compliance with the drilling and development requirements of such plan or agreement, and this lease shall
        not tenninate or expire during the life of such plan or a~ement. In the event that said above described lands or any part thereof,
        shall hereafter be operated under any such cooperative or unit plan of development or operation whereby the production
        therefrom is allocated to different portions of the land covered by said plan, then the production allocated to any parucular tract
        of land shall, for the purpose of computing the royalties lo be paid hereunder to Lessor, be regarded as having been produced
        from the particular tract of land to which it is .allocated and not to any other tract of land; and the royalty payments to be made
        hereunder to Lessor shall be" based upon ·prodUCtiOri ()nly as so allocated. "Lessor shall formally eXpress Lessor's consent to any
        cooperative or unit plan of development or operation adopted by Lessee and approved by any governmental agency by executing
        th e same upon request of Lessee.
                      13. All express or implied covenants of this lease shall be subject to all Federal and State Laws, Executive Orders,
        Rules or Regulations, and this lease shall not be terminated, in who le or in part, nor Lessee held liable in damages, for failure to
        comply therewith, if compliance is prevented by, or if such failure is the result of, any such Law, Order, Ru le or Regulation.
                      14. Lessor hereby warrants and agrees to defend the title to the lands herein described, and agrees that the Lessee
        shall have the right at any time to redeem for Lessor, by payment, any mortgal-(eS, taxes or other liens on the above described
        lands, in the event of default of payment by Lessor and be subrogated to the rights of the holder thereof, and the undersigned
        Lessors, for themselves and their heirs, successors and assigns, hereby surrender and release all right of dower and homestead in
        the premi ses described herein, insofar as said right of dower and homestead may in any way affect the purposes for which th is
        lease is made, as recited herein.
                      15. Should any one or more of the parties hereinabove named as Lessor fai l to exccul~ this lease, it shall
        nevertheless be binding upon all such parties who do execute it as Lessor. The word "Lessor," as used in this lease, shall mean
        any one or more or all of the parties who execute this lease as Lessor. All the provisions of this lease shall be binding on the
        heirs, successors and assigns of Lessor and Lessee.



                     IN WITNESS WHEREOF, this instrument is executed as of the date first above written.




        ef.if:!~~
         in his sole and separate property




                                                                         ACKNOWLEDGMENT

         STATE OF         c'.'.m\o"wlo -JI ss:
         COUNTY OF        fY\ O)'\¼:uu,vie,,. l

                   BE IT REMEMBERED, That on this                      J 9 day of QC..\o tJe.r , 2009, before me, a Notary Public in and for
         said County and State, personally appeared, Ronald J. Penman, a married man dealing in his sole and separate property.
         known to me to be the identical person(s) described in and who executed the within and foregoing instrument and acknowledged
         to me that he executed the same as his free and voluntary act and deed for th e uses and purposes therein set forth.



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                          NOTARY PUBLIC                                                                             Notary Public
                        STATE OF COLORADO
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         LolleTree Energy & Associa1es, LLC
         141 Union Boulevard, Sui te 260
         Lakewood, CO 80228




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                                                                          EXHIBIT "A"

                Attached to and made a part of that certain Oil and Gas Lease
                                                                              dated October 23, 2009 by and between hctween Ronald J.
                Penman, a married man dealing in his sole and separate
                                                                            property. whose address is 24751 Rd S, Dolores, CO 81323,
                hereinafter called Lessor (whether one or more) and TRZ Energy
                                                                               LLC whose address is 1050 17th Street, Suite 975 Denver,
                                                                                                                               1
                CO 80265 hereinafter called Lessee.

                Township 153 North, Range 98 West, 5th PM
                Section 5: N/2SW/4
                Section 6: N/2SE/4
                Section 7: S/2NE/4, SE/4
                Section 9: W/2, NE/4, NE/4SE/4, S/2SE/4, NW/4SE/4
                Section 10: SW/4SW/4
                Section 17: NE/4, SE/4NW14

               containing 1120.00 acres, more or less.

                     I)   This lease shall terminate at the end of the primary term as to
                                                                                          all of the leased premises except those included within a
                          production or spacing unit prescribed by law or administrative
                                                                                          authority on which is located a well producing oil and/or
                          gas and for which Lessor is receiving royalty payments, unless lessee
                                                                                                   is then engaged in drilling or reworking
                          operations in accordance with the provisions of this lease. In the
                                                                                             event that lessee is engaged in said drilling or
                          reworking  operations at the expiration of the primary term, the lease shall
                                                                                                                  remain in full force and effect as to all the
                          leased premises so long as a continuous drilling program is maintained
                                                                                                              whereby not more than 120 days shall elapse
                          from the completion or abandonment of drilling or completion
                                                                                                 operations upon the last wel l to the commence
                                                                                                                                         ment of
                          another well. Upon failure to maintain said continuous drilling program,
                                                                                                   this lease shall then automatically terminate
                          as to such nonproductive part of the leased premises as provided above.

                    2)    No well shall be shut·in and perpetuate this lease for more than
                                                                                           twenty-four (24) months beyond primary term; actual
                          production and payment on production shall be required after such
                                                                                             period to perpetuate this lease.




               Signed for identification this   Oc·f     J-1     day of ~<2~+1 -- -- ' 2009.




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              R ~ m a n , a married man dealing
              in his sole and sepa."ratc p;·operty




              When recorded, return to:                                        COUNTY RECORDER, WILLIAMS COUNTY ND                    11/20/2009 10 :52,
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              141 Union Boulevard, Suite 260
              Lakewood, CO 80228
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